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   7

   8
                             UNITED STATES DISTRICT COURT
   9
                            CENTRAL DISTRICT OF CALIFORNIA
  10
     TAI HANG and ROBERT CANALES,                CASE NO. 5:21-cv-00287-JWH-KK
  11 on behalf of themselves and all others
     similarly situated,                         DEFENDANT’S ANSWER TO
  12                                             PLAINTIFFS’ FOURTH AMENDED
                   Plaintiffs,                   CLASS ACTION COMPLAINT [Dkt.
  13                                             #35]
             vs.
  14

  15 OLD DOMINION FREIGHT LINE,
       INC., a Virginia corporation; and DOES
  16 1 to 100, inclusive,

  17               Defendants.
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       DEFENDANT’S ANSWER TO PLAINTIFFS’ FOURTH AMENDED CLASS ACTION COMPLAINT [Dkt. #35]
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   1        Defendant Old Dominion Freight Line, Inc., by and through its undersigned
   2 counsel of record and on behalf of itself and no other defendant or third-party entity

   3 or individual, hereby answers the “Fourth Amended Class Action (FRCP Rule 23)

   4 Complaint” [Dkt. #35] (the “4AC”) filed by Plaintiffs Tai Hang (“Hang”) and Robert

   5 Canales (“Canales”) (collectively, “Plaintiffs”) without waiver or limitation of the

   6 Court’s rulings made in this action to date under Fed. R. Civ. P. 12(b)(6) and 12(f),

   7 which rights are hereby fully and expressly reserved. As a general matter, pursuant

   8 to Fed. R. Civ. P. 8(b)(3), Defendant denies each and every allegation in the 4AC

   9 except as expressly admitted or qualified hereafter.         Further, to the extent the
  10 headings used throughout the 4AC contain substantive allegations, Defendant denies

  11 them generally and specifically.

  12        1.     Answering Paragraph 1 of the 4AC, Defendant states that it purports to
  13 characterize the relief Plaintiffs are seeking, which characterizations do not require

  14 any admissions or denials by Defendant, but Defendant generally and specifically

  15 denies that it is liable for or that Plaintiffs or the individuals that they seek to

  16 represent are entitled to the same.

  17        2.     Answering Paragraph 2 of the 4AC, Defendant states that it sets forth
  18 legal contentions and/or conclusions that do not require any admissions or denials by

  19 Defendant. To the extent a response is required, Defendant generally and specifically

  20 denies each and every allegation contained in said Paragraph.

  21 AS TO RELEVANT JOB TITLES

  22        3.     Answering Paragraph 3 of the 4AC, Defendant admits only that
  23 Plaintiffs purport to describe the individuals that they seek to represent in this action,

  24 but generally and specifically denies that any class of any type should be or is

  25 capable of being certified pursuant to Rule 23 of the Federal Rules of Civil

  26 Procedure, and/or that it sets forth legal contentions and/or conclusions that do not

  27 require any admissions or denials by Defendant. Except as expressly admitted in this

  28 paragraph, Defendant generally and specifically denies each and every allegation

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   1 contained in said Paragraph.

   2 AS TO SUMMARY OF CLAIMS

   3        4.     Answering Paragraph 4 of the 4AC, Defendant states that it sets forth
   4 legal contentions and/or conclusions that do not require any admissions or denials by

   5 Defendant. To the extent a response is required, Defendant generally and specifically

   6 denies each and every allegation contained in said Paragraph.

   7                                            II.
   8                                    AS TO PARTIES
   9 AS TO PLAINTIFF TAI HANG

  10        5.     Answering Paragraph 5 of the 4AC, Defendant states that it lacks
  11 information or knowledge sufficient to form a belief as to the truth of those

  12 allegations and, on that basis, generally and specifically denies such allegations.

  13        6.     Answering Paragraph 6 of the 4AC, Defendant admits only that Hang
  14 was employed by Defendant from in or around August 2007 until in or around

  15 August 2020 in Rialto, California. Except as expressly admitted in this paragraph,

  16 above, Defendant states that it lacks information or knowledge sufficient to form a

  17 belief as to the truth of the remaining allegations in said Paragraph and, on that basis,

  18 generally and specifically denies such allegations.

  19        7.     Answering Paragraph 7 of the 4AC, Defendant states that it sets forth
  20 legal contentions and/or conclusions that do not require any admissions or denials by

  21 Defendant. To the extent a response is required, Defendant generally and specifically

  22 denies each and every allegation contained in said Paragraph.

  23 AS TO PLAINTIFF ROBERT CANALES

  24        8.     Answering Paragraph 8 of the 4AC, Defendant states that it lacks
  25 information or knowledge sufficient to form a belief as to the truth of those

  26 allegations and, on that basis, generally and specifically denies such allegations.

  27        9.     Answering Paragraph 9 of the 4AC, Defendant admits only that Canales
  28 was employed by Defendant from on or about January 26, 2018 until in or around

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   1 October 2020 in Rialto, California. Except as expressly admitted in this paragraph,

   2 above, Defendant states that it lacks information or knowledge sufficient to form a

   3 belief as to the truth of the remaining allegations in said Paragraph and, on that basis,

   4 generally and specifically denies such allegations.

   5        10.    Answering Paragraph 10 of the 4AC, Defendant states that it sets forth
   6 legal contentions and/or conclusions that do not require any admissions or denials by

   7 Defendant. To the extent a response is required, Defendant generally and specifically

   8 denies each and every allegation contained in said Paragraph.

   9 AS TO DEFENDANT, OLD DOMINION FREIGHT LINE, INC.

  10        11.    Answering Paragraph 11 of the 4AC, Defendant admits only that it is a
  11 Virginia corporation with its principal place of business in North Carolina and that it

  12 is authorized to and does conduct business in California.          Except as expressly
  13 admitted in this paragraph, Defendant generally and specifically denies each and

  14 every allegation contained in said Paragraph.

  15 AS TO DOES 1 TO 100, INCLUSIVE

  16        12.    Answering Paragraph 12 of the 4AC, Defendant states that it lacks
  17 information or knowledge sufficient to form a belief as to the truth of those

  18 allegations and, on that basis, generally and specifically denies such allegations.

  19        13.    Answering Paragraph 13 of the 4AC, Defendant states that it lacks
  20 information or knowledge sufficient to form a belief as to the truth of those

  21 allegations and, on that basis, generally and specifically denies such allegations.

  22        14.    Answering Paragraph 14 of the 4AC, Defendant states that it lacks
  23 information or knowledge sufficient to form a belief as to the truth of those

  24 allegations and, on that basis, generally and specifically denies such allegations.

  25 AS TO ALL DEFENDANTS

  26        15.    Answering Paragraph 15 of the 4AC, Defendant states that it sets forth
  27 legal contentions and/or conclusions that do not require any admissions or denials by

  28 Defendant. To the extent a response is required, Defendant generally and specifically

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   1 denies each and every allegation contained in said Paragraph.

   2        16.   Answering Paragraph 16 of the 4AC, Defendant states that it sets forth
   3 legal contentions and/or conclusions that do not require any admissions or denials by

   4 Defendant. To the extent a response is required, Defendant generally and specifically

   5 denies each and every allegation contained in said Paragraph.

   6        17.   Answering Paragraph 17 of the 4AC, Defendant states that it sets forth
   7 legal contentions and/or conclusions that do not require any admissions or denials by

   8 Defendant. To the extent a response is required, Defendant generally and specifically

   9 denies each and every allegation contained in said Paragraph.

  10        18.   Answering Paragraph 18 of the 4AC, Defendant states that it sets forth
  11 legal contentions and/or conclusions that do not require any admissions or denials by

  12 Defendant. To the extent a response is required, Defendant generally and specifically

  13 denies each and every allegation contained in said Paragraph.

  14        19.   Answering Paragraph 19 of the 4AC, Defendant states that it sets forth
  15 legal contentions and/or conclusions that do not require any admissions or denials by

  16 Defendant. To the extent a response is required, Defendant generally and specifically

  17 denies each and every allegation contained in said Paragraph.

  18        20.   Answering Paragraph 20 of the 4AC, Defendant states that it sets forth
  19 legal contentions and/or conclusions that do not require any admissions or denials by

  20 Defendant. To the extent a response is required, Defendant generally and specifically

  21 denies each and every allegation contained in said Paragraph.

  22        21.   Answering Paragraph 21 of the 4AC, Defendant states that it sets forth
  23 legal contentions and/or conclusions that do not require any admissions or denials by

  24 Defendant. To the extent a response is required, Defendant generally and specifically

  25 denies each and every allegation contained in said Paragraph.

  26                                          III.
  27                       AS TO JURISDICTION AND VENUE
  28        22.   Answering Paragraph 22 of the 4AC, Defendants admits the allegations
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   1 set forth therein.

   2        23.    Answering Paragraph 23 of the 4AC, Defendants admits the allegations
   3 set forth therein.

   4                                            IV.
   5                      AS TO CLASS ACTION ALLEGATIONS
   6        24.    Answering Paragraph 24 of the 4AC, Defendant admits only that
   7 Plaintiffs purport to describe the individuals that they seek to represent in this action,

   8 but generally and specifically denies that any class of any type should be or is

   9 capable of being certified pursuant to Rule 23 of the Federal Rules of Civil

  10 Procedure. Except as expressly admitted in this paragraph, Defendant generally and

  11 specifically denies each and every allegation contained in said Paragraph.

  12        25.    Answering Paragraph 25 of the 4AC, and each of its subparagraphs,
  13 Defendant admits only that Plaintiffs purport to describe the individuals that they

  14 seek to represent in this action, but generally and specifically denies that any class of

  15 any type should be or is capable of being certified pursuant to Rule 23 of the Federal

  16 Rules of Civil Procedure. Except as expressly admitted in this paragraph, Defendant

  17 generally and specifically denies each and every allegation contained in said

  18 Paragraph and each of its subparagraphs.

  19        26.    Answering Paragraph 26 of the 4AC, Defendant states that it lists the
  20 putative subclasses that Plaintiffs seek to represent, but generally and specifically

  21 denies that any class of any type should be or is capable of being certified pursuant to

  22 Rule 23 of the Federal Rules of Civil Procedure. Except as expressly admitted in this

  23 paragraph, Defendant generally and specifically denies each and every allegation

  24 contained in said Paragraph.

  25        27.    Answering Paragraph 27 of the 4AC, Defendant states that it contains a
  26 purported reservation of rights by Plaintiffs to amend or modify the putative class

  27 definitions set forth in Paragraph 25 of the 4AC (and its subparagraphs), which does

  28 not require any admissions or denials by Defendant. To the extent a response is

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   1 required, Defendant lacks information or knowledge sufficient to form a belief as to

   2 the truth of those allegations and, on that basis, generally and specifically denies each

   3 and every allegation contained in said Paragraph.

   4        28.    Answering Paragraph 28 of the 4AC, and each of its subparagraphs,
   5 Defendant states that it sets forth legal contentions and/or conclusions that do not

   6 require any admissions or denials by Defendant. To the extent a response is required,

   7 Defendant generally and specifically denies each and every allegation contained in

   8 said Paragraph and each of its subparagraphs.

   9        29.    Answering Paragraph 29 of the 4AC, and each of its subparagraphs,
  10 Defendant states that it sets forth legal contentions and/or conclusions that do not

  11 require any admissions or denials by Defendant. To the extent a response is required,

  12 Defendant generally and specifically denies each and every allegation contained in

  13 said Paragraph and each of its subparagraphs.

  14        30.    Answering Paragraph 30 of the 4AC, Defendant states that it sets forth
  15 legal contentions and/or conclusions that do not require any admissions or denials by

  16 Defendant. To the extent a response is required, Defendant generally and specifically

  17 denies each and every allegation contained in said Paragraph.

  18        31.    Answering Paragraph 31 of the 4AC, and each of its subparagraphs,
  19 Defendant states that it sets forth legal contentions and/or conclusions that do not

  20 require any admissions or denials by Defendant. To the extent a response is required,

  21 Defendant generally and specifically denies each and every allegation contained in

  22 said Paragraph and each of its subparagraphs.

  23        32.    Answering Paragraph 32 of the 4AC, and each of its subparagraphs,
  24 Defendant states that it sets forth legal contentions and/or conclusions that do not

  25 require any admissions or denials by Defendant. To the extent a response is required,

  26 Defendant generally and specifically denies each and every allegation contained in

  27 said Paragraph and each of its subparagraphs.

  28        33.    Answering Paragraph 33 of the 4AC, Defendant states that it sets forth
                                                6
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   1 legal contentions and/or conclusions that do not require any admissions or denials by

   2 Defendant.     To the extent a response is required, Defendant admits only that
   3 Plaintiffs purport to cite, quote and/or characterize California law, but generally and

   4 specifically denies that it has violated any such law or is liable for the same. Except

   5 as expressly admitted in this paragraph, Defendant generally and specifically denies

   6 each and every remaining allegation contained in said Paragraph.

   7                                             V.
   8                             AS TO CAUSES OF ACTION
   9                          AS TO FIRST CAUSE OF ACTION
  10       FAILURE TO PROVIDE LEGALLY-COMPLIANT REST PERIODS
  11                       (On Behalf of the Legal Rest Period Class)
  12                                (Against All Defendants)
  13        34.    Answering Paragraph 34 of the 4AC, Defendant incorporates its
  14 responses to the allegations and averments of the preceding paragraphs of the 4AC

  15 set forth above as though fully set forth herein.

  16        35.    Answering Paragraph 35 of the 4AC and each of its subparagraphs,
  17 Defendant states that it presently lacks information or knowledge sufficient to form a

  18 belief as to the truth of those allegations and, on that basis, generally and specifically

  19 denies such allegations.

  20        36.    Answering Paragraph 36 of the 4AC, Defendant states that it sets forth
  21 legal contentions and/or conclusions that do not require any admissions or denials by

  22 Defendant. To the extent a response is required, Defendant generally and specifically

  23 denies each and every allegation contained in said Paragraph.

  24        37.    Answering Paragraph 37 of the 4AC, Defendant states that it presently
  25 lacks information or knowledge sufficient to form a belief as to the truth of those

  26 allegations and, on that basis, generally and specifically denies such allegations.

  27        38.    Answering Paragraph 38 of the 4AC, Defendant states that it sets forth
  28 legal contentions and/or conclusions that do not require any admissions or denials by

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       DEFENDANT’S ANSWER TO PLAINTIFFS’ FOURTH AMENDED CLASS ACTION COMPLAINT [Dkt. #35]
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   1 Defendant.     To the extent a response is required, Defendant admits only that
   2 Plaintiffs purport to cite, quote and/or characterize California law, but generally and

   3 specifically denies that it has violated any such law or is liable for the same. Except

   4 as expressly admitted in this paragraph, Defendant generally and specifically denies

   5 each and every remaining allegation contained in said Paragraph.

   6        39.    Answering Paragraph 39 of the 4AC, Defendant generally and
   7 specifically denies each and every allegation contained in said Paragraph.

   8        40.    Answering Paragraph 40 of the 4AC, Defendant states that it presently
   9 lacks information or knowledge sufficient to form a belief as to the truth of those

  10 allegations and, on that basis, generally and specifically denies such allegations.

  11        41.    Answering Paragraph 41 of the 4AC, Defendant states that it presently
  12 lacks information or knowledge sufficient to form a belief as to the truth of those

  13 allegations and, on that basis, generally and specifically denies such allegations.

  14        42.    Answering Paragraph 42 of the 4AC, Defendant states that it presently
  15 lacks information or knowledge sufficient to form a belief as to the truth of those

  16 allegations and, on that basis, generally and specifically denies such allegations.

  17        43.    Answering Paragraph 43 of the 4AC, Defendant states that it sets forth
  18 legal contentions and/or conclusions that do not require any admissions or denials by

  19 Defendant. To the extent a response is required, Defendant generally and specifically

  20 denies each and every allegation contained in said Paragraph.

  21        44.    Answering Paragraph 44 of the 4AC, Defendant states that it sets forth
  22 legal contentions and/or conclusions that do not require any admissions or denials by

  23 Defendant.     To the extent a response is required, Defendant admits only that
  24 Plaintiffs purport to refer to and/or characterize the relief they are seeking, but

  25 generally and specifically denies that Plaintiffs or the individuals that they seek to

  26 represent are entitled to or that Defendant is liable for the same. Except as expressly

  27 admitted in this paragraph, Defendant generally and specifically denies each and

  28 every remaining allegation contained in said Paragraph.

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       DEFENDANT’S ANSWER TO PLAINTIFFS’ FOURTH AMENDED CLASS ACTION COMPLAINT [Dkt. #35]
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    1        45.    Answering Paragraph 45 of the 4AC, Defendant states that it sets forth
    2 legal contentions and/or conclusions that do not require any admissions or denials by

    3 Defendant.     To the extent a response is required, Defendant admits only that
    4 Plaintiffs purport to refer to and/or characterize the relief they are seeking, but

    5 generally and specifically denies that Plaintiffs or the individuals that they seek to

    6 represent are entitled to or that Defendant is liable for the same. Except as expressly

    7 admitted in this paragraph, Defendant generally and specifically denies each and

    8 every remaining allegation contained in said Paragraph.

    9                        AS TO SECOND CAUSE OF ACTION
   10     FAILURE TO AUTHORIZE AND PERMIT ALL PAID REST PERIODS
   11                          (On Behalf of The Rest Period Class)
   12                                (Against All Defendants)
   13        46.    Answering Paragraph 46 of the 4AC, Defendant incorporates its
   14 responses to the allegations and averments of the preceding paragraphs of the 4AC

   15 set forth above as though fully set forth herein.

   16        47.    Answering Paragraph 47 of the 4AC and each of its subparagraphs,
   17 Defendant states that it presently lacks information or knowledge sufficient to form a

   18 belief as to the truth of those allegations and, on that basis, generally and specifically

   19 denies such allegations.

   20        48.    Answering Paragraph 48 of the 4AC, Defendant states that it sets forth
   21 legal contentions and/or conclusions that do not require any admissions or denials by

   22 Defendant. To the extent a response is required, Defendant generally and specifically

   23 denies each and every allegation contained in said Paragraph.

   24        49.    Answering Paragraph 49 of the 4AC, Defendant states that it sets forth
   25 legal contentions and/or conclusions that do not require any admissions or denials by

   26 Defendant. To the extent a response is required, Defendant generally and specifically

   27 denies each and every allegation contained in said Paragraph.

   28        50.    Answering Paragraph 50 of the 4AC, Defendant states that it presently
                                                  9
        DEFENDANT’S ANSWER TO PLAINTIFFS’ FOURTH AMENDED CLASS ACTION COMPLAINT [Dkt. #35]
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    1 lacks information or knowledge sufficient to form a belief as to the truth of those

    2 allegations and, on that basis, generally and specifically denies such allegations.

    3        51.    Answering the first sentence of Paragraph 51 of the 4AC, Defendant
    4 states that it presently lacks information or knowledge sufficient to form a belief as to

    5 the truth of those allegations and, on that basis, generally and specifically denies such

    6 allegations. Answering the remaining allegations of Paragraph 51, Defendant states

    7 that it sets forth legal contentions and/or conclusions that do not require any

    8 admissions or denials by Defendant. To the extent a response is required, Defendant

    9 generally and specifically denies each and every remaining allegation contained in

   10 said Paragraph.

   11        52.    Answering Paragraph 52 of the 4AC, Defendant states that it sets forth
   12 legal contentions and/or conclusions that do not require any admissions or denials by

   13 Defendant.     To the extent a response is required, Defendant admits only that
   14 Plaintiffs purport to refer to and/or characterize the relief they are seeking, but

   15 generally and specifically denies that Plaintiffs or the individuals that they seek to

   16 represent are entitled to or that Defendant is liable for the same. Except as expressly

   17 admitted in this paragraph, Defendant generally and specifically denies each and

   18 every remaining allegation contained in said Paragraph.

   19        53.    Answering Paragraph 53 of the 4AC, Defendant states that it sets forth
   20 legal contentions and/or conclusions that do not require any admissions or denials by

   21 Defendant.     To the extent a response is required, Defendant admits only that
   22 Plaintiffs purport to refer to and/or characterize the relief they are seeking, but

   23 generally and specifically denies that Plaintiffs or the individuals that they seek to

   24 represent are entitled to or that Defendant is liable for the same. Except as expressly

   25 admitted in this paragraph, Defendant generally and specifically denies each and

   26 every remaining allegation contained in said Paragraph.

   27 ///

   28 ///

                                                 10
        DEFENDANT’S ANSWER TO PLAINTIFFS’ FOURTH AMENDED CLASS ACTION COMPLAINT [Dkt. #35]
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    1                         AS TO THIRD CAUSE OF ACTION
    2                       INDEPENDENT FAILURE TO TIMELY
    3              FURNISH ACCURATE ITEMIZED WAGE STATEMENTS
    4                 (On Behalf of the Independent Wage Statement Class)
    5                                (Against All Defendants)
    6        54.     Answering Paragraph 54 of the 4AC, Defendant incorporates its
    7 responses to the allegations and averments of the preceding paragraphs of the 4AC

    8 set forth above as though fully set forth herein.

    9        55.     Answering the first sentence of Paragraph 55 of the 4AC, Defendant
   10 states that it sets forth legal contentions and/or conclusions that do not require any

   11 admissions or denials by Defendant. To the extent a response is required, Defendant

   12 generally and specifically denies each and every allegation contained in said

   13 sentence. Answering the second sentence of Paragraph 55 of the 4AC, Defendant

   14 states that it presently lacks information or knowledge sufficient to form a belief as to

   15 the truth of those allegations and, on that basis, generally and specifically denies such

   16 allegations.

   17        56.     Answering Paragraph 56 of the 4AC, Defendant states that it sets forth
   18 legal contentions and/or conclusions that do not require any admissions or denials by

   19 Defendant. To the extent a response is required, Defendant generally and specifically

   20 denies each and every allegation contained in said Paragraph.

   21        57.     Answering Paragraph 57 of the 4AC, Defendant admits only that
   22 Plaintiffs purport to cite, quote and/or characterize California law, but generally and

   23 specifically denies that it has violated any such law or is liable for the same. Except

   24 as expressly admitted in this paragraph, Defendant generally and specifically denies

   25 each and every remaining allegation contained in said Paragraph.

   26        58.     Answering the first sentence of Paragraph 58 of the 4AC, Defendant
   27 states that it sets forth legal contentions and/or conclusions that do not require any

   28 admissions or denials by Defendant. To the extent a response is required, Defendant

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    1 generally and specifically denies each and every allegation contained in said

    2 sentence.    Answering the remaining allegations in Paragraph 58 of the 4AC,
    3 Defendant states that it presently lacks information or knowledge sufficient to form a

    4 belief as to the truth of those allegations and, on that basis, generally and specifically

    5 denies each and every remaining allegation in said Paragraph.

    6        59.    Answering Paragraph 59 of the 4AC, Defendant states that it sets forth
    7 legal contentions and/or conclusions that do not require any admissions or denials by

    8 Defendant. To the extent a response is required, Defendant generally and specifically

    9 denies each and every allegation contained in said Paragraph.

   10        60.    Answering Paragraph 60 of the 4AC and each of its subparagraphs,
   11 Defendant states that it sets forth legal contentions and/or conclusions that do not

   12 require any admissions or denials by Defendant. To the extent a response is required,

   13 Defendant generally and specifically denies each and every allegation contained in

   14 said Paragraph and each of its subparagraphs.

   15        61.    Answering Paragraph 61 of the 4AC, Defendant states that it sets forth
   16 legal contentions and/or conclusions that do not require any admissions or denials by

   17 Defendant.     To the extent a response is required, Defendant admits only that
   18 Plaintiffs purport to refer to and/or characterize the relief they are seeking, but

   19 generally and specifically denies that Plaintiffs or the individuals that they seek to

   20 represent are entitled to or that Defendant is liable for the same. Except as expressly

   21 admitted in this paragraph, Defendant generally and specifically denies each and

   22 every remaining allegation contained in said Paragraph.

   23        62.    Answering Paragraph 62 of the 4AC, Defendant states that it sets forth
   24 legal contentions and/or conclusions that do not require any admissions or denials by

   25 Defendant.     To the extent a response is required, Defendant admits only that
   26 Plaintiffs purport to refer to and/or characterize the relief they are seeking, but

   27 generally and specifically denies that Plaintiffs or the individuals that they seek to

   28 represent are entitled to or that Defendant is liable for the same. Except as expressly

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    1 admitted in this paragraph, Defendant generally and specifically denies each and

    2 every remaining allegation contained in said Paragraph.

    3        63.    Answering Paragraph 63 of the 4AC, Defendant states that it sets forth
    4 legal contentions and/or conclusions that do not require any admissions or denials by

    5 Defendant.     To the extent a response is required, Defendant admits only that
    6 Plaintiffs purport to refer to and/or characterize the relief they are seeking, but

    7 generally and specifically denies that Plaintiffs or the individuals that they seek to

    8 represent are entitled to or that Defendant is liable for the same. Except as expressly

    9 admitted in this paragraph, Defendant generally and specifically denies each and

   10 every remaining allegation contained in said Paragraph.

   11                        AS TO FOURTH CAUSE OF ACTION
   12                        DERIVATIVE FAILURE TO TIMELY
   13              FURNISH ACCURATE ITEMIZED WAGE STATEMENTS
   14                 (On Behalf of the Derivative Wage Statement Class)
   15        64.    Answering Paragraph 64 of the 4AC, Defendant incorporates its
   16 responses to the allegations and averments of the preceding paragraphs of the 4AC

   17 set forth above as though fully set forth herein.

   18        65.    Answering Paragraph 65 of the 4AC, Defendant admits only that
   19 Plaintiffs purport to cite, quote and/or characterize California law, but generally and

   20 specifically denies that it has violated any such law or is liable for the same. Except

   21 as expressly admitted in this paragraph, Defendant generally and specifically denies

   22 each and every remaining allegation contained in said Paragraph.

   23        66.    Answering Paragraph 66 of the 4AC, Defendant states that it sets forth
   24 legal contentions and/or conclusions that do not require any admissions or denials by

   25 Defendant. To the extent a response is required, Defendant generally and specifically

   26 denies each and every allegation contained in said Paragraph.

   27        67.    Answering Paragraph 67 of the 4AC, Defendant states that it purports to
   28 describe Plaintiffs’ allegations alleged elsewhere in the 4AC and/or sets forth legal

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    1 contentions and/or conclusions that do not require any admissions or denials by

    2 Defendant. To the extent a response is required, Defendant generally and specifically

    3 denies each and every allegation contained in said Paragraph.

    4        68.    Answering Paragraph 68 of the 4AC, Defendant states that it sets forth
    5 legal contentions and/or conclusions that do not require any admissions or denials by

    6 Defendant. To the extent a response is required, Defendant generally and specifically

    7 denies each and every allegation contained in said Paragraph.

    8        69.    Answering Paragraph 69 of the 4AC, Defendant states that it sets forth
    9 legal contentions and/or conclusions that do not require any admissions or denials by

   10 Defendant. To the extent a response is required, Defendant generally and specifically

   11 denies each and every allegation contained in said Paragraph.

   12        70.    Answering the first sentence of Paragraph 70 of the 4AC, Defendant
   13 admits only that Plaintiffs purport to cite, quote and/or characterize California law,

   14 but generally and specifically denies that it has violated any such law or is liable for

   15 the same.     Answering the remaining allegations in Paragraph 70 of the 4AC,
   16 Defendant states that they set forth legal contentions and/or conclusions that do not

   17 require any admissions or denials by Defendant. To the extent a response is required,

   18 and except as expressly admitted in this paragraph, Defendant generally and

   19 specifically denies each and every remaining allegation contained in said Paragraph.

   20        71.    Answering Paragraph 71 of the 4AC, Defendant states that it sets forth
   21 legal contentions and/or conclusions that do not require any admissions or denials by

   22 Defendant. To the extent a response is required, Defendant generally and specifically

   23 denies each and every allegation contained in said Paragraph.

   24        72.    Answering Paragraph 72 of the 4AC and each of its subparagraphs,
   25 Defendant states that it sets forth legal contentions and/or conclusions that do not

   26 require any admissions or denials by Defendant. To the extent a response is required,

   27 Defendant generally and specifically denies each and every allegation contained in

   28 said Paragraph and each of its subparagraphs.

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    1        73.   Answering Paragraph 73 of the 4AC, Defendant states that it sets forth
    2 legal contentions and/or conclusions that do not require any admissions or denials by

    3 Defendant.    To the extent a response is required, Defendant admits only that
    4 Plaintiffs purport to refer to and/or characterize the relief they are seeking, but

    5 generally and specifically denies that Plaintiffs or the individuals that they seek to

    6 represent are entitled to or that Defendant is liable for the same. Except as expressly

    7 admitted in this paragraph, Defendant generally and specifically denies each and

    8 every remaining allegation contained in said Paragraph.

    9        74.   Answering Paragraph 74 of the 4AC, Defendant states that it sets forth
   10 legal contentions and/or conclusions that do not require any admissions or denials by

   11 Defendant.    To the extent a response is required, Defendant admits only that
   12 Plaintiffs purport to refer to and/or characterize the relief they are seeking, but

   13 generally and specifically denies that Plaintiffs or the individuals that they seek to

   14 represent are entitled to or that Defendant is liable for the same. Except as expressly

   15 admitted in this paragraph, Defendant generally and specifically denies each and

   16 every remaining allegation contained in said Paragraph.

   17        75.   Answering Paragraph 75 of the 4AC, Defendant states that it sets forth
   18 legal contentions and/or conclusions that do not require any admissions or denials by

   19 Defendant.    To the extent a response is required, Defendant admits only that
   20 Plaintiffs purport to refer to and/or characterize the relief they are seeking, but

   21 generally and specifically denies that Plaintiffs or the individuals that they seek to

   22 represent are entitled to or that Defendant is liable for the same. Except as expressly

   23 admitted in this paragraph, Defendant generally and specifically denies each and

   24 every remaining allegation contained in said Paragraph.

   25 ///

   26 ///

   27 ///

   28 ///

                                                15
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    1                         AS TO FIFTH CAUSE OF ACTIONS
    2                       VIOLATIONS OF LABOR CODE § 203
    3                            (On Behalf of the LC 203 Class)
    4                                (Against All Defendants)
    5        76.    Answering Paragraph 76 of the 4AC, Defendant incorporates its
    6 responses to the allegations and averments of the preceding paragraphs of the 4AC

    7 set forth above as though fully set forth herein.

    8        77.    Answering the first sentence of Paragraph 77 of the 4AC, Defendant
    9 admits only that Plaintiffs purport to describe the individuals that they seek to

   10 represent in this action, but generally and specifically denies that any class of any

   11 type should be or is capable of being certified pursuant to Rule 23 of the Federal

   12 Rules of Civil Procedure.        Answering the second sentence of Paragraph 77,
   13 Defendant admits only that Canales was terminated in or around October 2020 and

   14 that Hang’s employment ended in or around August 2020.           Except as expressly
   15 admitted in this paragraph, Defendant generally and specifically denies each and

   16 every allegation contained in said Paragraph.

   17        78.    Answering Paragraph 78 of the 4AC, Defendant states that it sets forth
   18 legal contentions and/or conclusions that do not require any admissions or denials by

   19 Defendant. To the extent a response is required, Defendant generally and specifically

   20 denies each and every allegation contained in said Paragraph.

   21        79.    Answering Paragraph 79 of the 4AC, Defendant states that it sets forth
   22 legal contentions and/or conclusions that do not require any admissions or denials by

   23 Defendant. To the extent a response is required, Defendant generally and specifically

   24 denies each and every allegation contained in said Paragraph.

   25        80.    Answering Paragraph 80 of the 4AC, Defendant states that it sets forth
   26 legal contentions and/or conclusions that do not require any admissions or denials by

   27 Defendant. To the extent a response is required, Defendant generally and specifically

   28 denies each and every allegation contained in said Paragraph.

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    1        81.    Answering Paragraph 81 of the 4AC, Defendant states that it sets forth
    2 legal contentions and/or conclusions that do not require any admissions or denials by

    3 Defendant.     To the extent a response is required, Defendant admits only that
    4 Plaintiffs purport to refer to and/or characterize the relief they are seeking, but

    5 generally and specifically denies that Plaintiffs or the individuals that they seek to

    6 represent are entitled to or that Defendant is liable for the same. Except as expressly

    7 admitted in this paragraph, Defendant generally and specifically denies each and

    8 every remaining allegation contained in said Paragraph.

    9                         AS TO SIXTH CAUSE OF ACTION
   10                PENALTIES PURSUANT TO LABOR CODE § 2699
   11                        (On Behalf of the Aggrieved Employees)
   12                                (Against All Defendants)
   13        82.    Answering Paragraph 82 of the 4AC, Defendant incorporates its
   14 responses to the allegations and averments of the preceding paragraphs of the 4AC

   15 set forth above as though fully set forth herein.

   16        83.    Answering the allegations in Paragraph 83 of the 4AC and each of its
   17 subparagraphs, Defendant states that it sets forth legal contentions and/or conclusions

   18 that do not require any admissions or denials by Defendant. To the extent a response

   19 is required, Defendant admits that, at page 27, lines 8-15, of the 4AC, Plaintiffs

   20 purport to cite, quote and/or characterize California law, but generally and

   21 specifically denies that it has violated any such law or is liable for the same.

   22 Defendant further admits that, at page 27, line 15, through page 28, line 17, of the

   23 4AC, Plaintiffs purport to refer to and/or characterize the relief they are seeking, but

   24 generally and specifically denies that Plaintiffs or the putative aggrieved employees

   25 at issue are entitled to or that Defendant is liable for the same. Except as expressly

   26 admitted in this paragraph, Defendant generally and specifically denies each and

   27 every allegation contained in said Paragraph and its subparagraphs.

   28        84.    Answering Paragraph 84 of the 4AC, Defendant states that it sets forth
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    1 legal contentions and/or conclusions that do not require any admissions or denials by

    2 Defendant.    To the extent a response is required, Defendant admits only that
    3 Plaintiffs purport to refer to and/or characterize the relief they are seeking and

    4 describe the contemplated distribution thereof, if any, but generally and specifically

    5 denies that Plaintiffs or the putative aggrieved employees at issue are entitled to or

    6 that Defendant is liable for the same. Except as expressly admitted in this paragraph,

    7 Defendant generally and specifically denies each and every remaining allegation

    8 contained in said Paragraph.

    9        85.   Answering Paragraph 85 of the 4AC, Defendant states that it sets forth
   10 legal contentions and/or conclusions that do not require any admissions or denials by

   11 Defendant.    To the extent a response is required, Defendant admits only that
   12 Plaintiffs purport to refer to and/or characterize the relief they are seeking, but

   13 generally and specifically denies that Plaintiffs (or, to the extent applicable, the

   14 putative aggrieved employees at issue) are entitled to or that Defendant is liable for

   15 the same. Except as expressly admitted in this paragraph, Defendant generally and

   16 specifically denies each and every remaining allegation contained in said Paragraph.

   17        86.   Answering Paragraph 86 of the 4AC, Defendant states that it sets forth
   18 legal contentions and/or conclusions that do not require any admissions or denials by

   19 Defendant.    To the extent a response is required, Defendant admits only that
   20 Plaintiffs purport to describe a written notice allegedly provided by Hang to the

   21 California Labor and Workforce Development Agency and refer to an Exhibit 1

   22 attached to the 4AC.     Except as expressly admitted in this paragraph, Defendant
   23 generally and specifically denies each and every allegation contained in said

   24 Paragraph.

   25        87.   Answering Paragraph 87 of the 4AC, Defendant states that it sets forth
   26 legal contentions and/or conclusions that do not require any admissions or denials by

   27 Defendant.    To the extent a response is required, Defendant admits only that
   28 Plaintiffs purport to describe a written notice allegedly provided by Canales to the

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    1 California Labor and Workforce Development Agency and refer to an Exhibit 2

    2 attached to the 4AC.     Except as expressly admitted in this paragraph, Defendant
    3 generally and specifically denies each and every allegation contained in said

    4 Paragraph.

    5        88.    Answering the first sentence of Paragraph 88 of the 4AC, Defendant
    6 states that it presently lacks information or knowledge sufficient to form a belief as to

    7 the truth of those allegations and, on that basis, generally and specifically denies such

    8 allegations. Answering the second sentence of Paragraph 88, Defendant states that it

    9 sets forth legal contentions and/or conclusions that do not require any admissions or

   10 denials by Defendant. To the extent a response is required, Defendant generally and

   11 specifically denies each and every allegation contained in said sentence.

   12        89.    Answering the first sentence of Paragraph 89 of the 4AC, Defendant
   13 states that it presently lacks information or knowledge sufficient to form a belief as to

   14 the truth of those allegations and, on that basis, generally and specifically denies such

   15 allegations. Answer the second sentence of Paragraph 89, Defendant states that it

   16 sets forth legal contentions and/or conclusions that do not require any admissions or

   17 denials by Defendant. To the extent a response is required, Defendant generally and

   18 specifically denies each and every allegation contained in said sentence.

   19                         AS TO SIXTH CAUSE OF ACTION
   20                          UNFAIR BUSINESS PRACTICES
   21                             (On Behalf of the 17200 Class)
   22                                (Against All Defendants)
   23        90.    Answering Paragraph 90 of the 4AC, Defendant incorporates its
   24 responses to the allegations and averments of the preceding paragraphs of the 4AC

   25 set forth above as though fully set forth herein.

   26        91.    Answering Paragraph 91 of the 4AC, Defendant states that it sets forth
   27 legal contentions and/or conclusions that do not require any admissions or denials by

   28 Defendant. To the extent a response is required, Defendant generally and specifically

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    1 denies each and every allegation contained in said Paragraph.

    2        92.   Answering Paragraph 92 of the 4AC, Defendant states that it sets forth
    3 legal contentions and/or conclusions that do not require any admissions or denials by

    4 Defendant. To the extent a response is required, Defendant generally and specifically

    5 denies each and every allegation contained in said Paragraph.

    6        93.   Answering Paragraph 93 of the 4AC, Defendant states that it sets forth
    7 legal contentions and/or conclusions that do not require any admissions or denials by

    8 Defendant. To the extent a response is required, Defendant generally and specifically

    9 denies each and every allegation contained in said Paragraph.

   10        94.   Answering Paragraph 94 of the 4AC, Defendant states that it sets forth
   11 legal contentions and/or conclusions that do not require any admissions or denials by

   12 Defendant. To the extent a response is required, Defendant generally and specifically

   13 denies each and every allegation contained in said Paragraph.

   14        95.   Answering Paragraph 95 of the 4AC, Defendant states that it sets forth
   15 legal contentions and/or conclusions that do not require any admissions or denials by

   16 Defendant.    To the extent a response is required, Defendant admits only that
   17 Plaintiffs purport to refer to and/or characterize the relief they are seeking, but

   18 generally and specifically denies that Plaintiffs or the individuals that they seek to

   19 represent are entitled to or that Defendant is liable for the same. Except as expressly

   20 admitted in this paragraph, Defendant generally and specifically denies each and

   21 every remaining allegation contained in said Paragraph.

   22        96.   Answering Paragraph 96 of the 4AC, Defendant states that it sets forth
   23 legal contentions and/or conclusions that do not require any admissions or denials by

   24 Defendant.    To the extent a response is required, Defendant admits only that
   25 Plaintiffs purport to refer to and/or characterize the relief they are seeking, but

   26 generally and specifically denies that Plaintiffs or the individuals that they seek to

   27 represent are entitled to or that Defendant is liable for the same. Except as expressly

   28 admitted in this paragraph, Defendant generally and specifically denies each and

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    1 every remaining allegation contained in said Paragraph.

    2        97.    Answering Paragraph 97 of the 4AC, Defendant states that it sets forth
    3 legal contentions and/or conclusions that do not require any admissions or denials by

    4 Defendant.     To the extent a response is required, Defendant admits only that
    5 Plaintiffs purport to refer to and/or characterize the relief they are seeking, but

    6 generally and specifically denies that Plaintiffs or the individuals that they seek to

    7 represent are entitled to or that Defendant is liable for the same. Except as expressly

    8 admitted in this paragraph, Defendant generally and specifically denies each and

    9 every remaining allegation contained in said Paragraph.

   10        98.    Answering Paragraph 98 of the 4AC, Defendant states that it sets forth
   11 legal contentions and/or conclusions that do not require any admissions or denials by

   12 Defendant.     To the extent a response is required, Defendant admits only that
   13 Plaintiffs purport to refer to and/or characterize the relief they are seeking, but

   14 generally and specifically denies that Plaintiffs or the individuals that they seek to

   15 represent are entitled to or that Defendant is liable for the same. Except as expressly

   16 admitted in this paragraph, Defendant generally and specifically denies each and

   17 every remaining allegation contained in said Paragraph.

   18                                            VI.
   19                            AS TO PRAYER FOR RELIEF
   20        Answering the Prayer for Relief in the 4AC, including each and every
   21 subsection, subparagraph, or subpart thereof, Defendant states that it contains legal

   22 contentions, conclusions and/or characterizations by Plaintiffs that do not require any

   23 admissions or denials by Defendant. To the extent a response is required, Defendant

   24 admits only that Plaintiffs purport to characterize and/or summarize the relief sought

   25 in the 4AC, but generally and specifically denies that Plaintiffs or the individuals that

   26 they seek to represent or the putative aggrieved employees at issue or the State of

   27 California are entitled to such relief or that Defendant is liable for the same. Except

   28 as expressly admitted in this paragraph, Defendant generally and specifically denies

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    1 each and every remaining allegation contained in said Prayer for Relief, including

    2 each and every subsection, subparagraph, or subpart thereof.

    3                                             VII.
    4                         AS TO DEMAND FOR JURY TRIAL
    5         Answering the Demand for Jury Trial in the 4AC, to the extent a response is
    6 required, Defendant admits only that Plaintiffs purport to seek a jury trial in this

    7 action.

    8                       AFFIRMATIVE OR OTHER DEFENSES
    9         For its affirmative and other defenses, without assuming any burden of proof
   10 that it does not already have and without waiver or limitation of its rights with regard

   11 to the claims of Plaintiffs and/or of the putative class members and/or the putative

   12 aggrieved employees at issue or the State of California, and expressly denying any

   13 and all wrongdoing, Defendant separately alleges that each of the following is likely

   14 to have evidentiary support after a reasonable opportunity for further investigation or

   15 discovery:

   16                    FIRST AFFIRMATIVE OR OTHER DEFENSE
   17                                  (Failure to State a Claim)
   18         The 4AC as a whole, and each and every purported cause of action alleged
   19 therein, fails to state facts sufficient to constitute a cause of action against Defendant.

   20                  SECOND AFFIRMATIVE OR OTHER DEFENSE
   21                                   (Statute of Limitations)
   22         The 4AC and each and every purported cause of action alleged therein are
   23 barred, in whole or in part, by all applicable statute of limitations including, without

   24 limitation, those set forth in Cal. Civ. Proc. Code §§ 338(a), 340(a) & (b), and/or 343,

   25 which are applicable to Plaintiffs’ claims.

   26                   THIRD AFFIRMATIVE OR OTHER DEFENSE
   27                                          (Estoppel)
   28         Defendant is informed and believes and based thereon alleges that Plaintiffs,
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    1 the putative class members they seek to represent, the putative aggrieved employees

    2 at issue and/or the State of California have engaged in conduct and activities that are

    3 the subject of the 4AC, on which Defendant relied to its detriment, and, by reason of

    4 such affirmative conduct and activities by them, they are estopped from asserting any

    5 claim for restitution for unpaid overtime, minimum wages, or other compensation

    6 against Defendant. Such conduct includes, but is not limited to, failing to report any

    7 unpaid time or missed/non-compliant meal or rest breaks and the State of California’s

    8 failure to investigate and/or pursue any action against Defendant or any other person

    9 or entity as to any purported violation(s) alleged in the 4AC.

   10                 FOURTH AFFIRMATIVE OR OTHER DEFENSE
   11                                         (Waiver)
   12        The 4AC and each and every purported cause of action alleged therein are
   13 barred to the extent it is predicated on a failure to provide meal periods in violation of

   14 Cal. Lab. Code §§ 226.7 and 512, because, to the extent Plaintiffs, the putative class

   15 members they seek to represent, and/or the putative aggrieved employees at issue did

   16 not take any meal periods provided to them, Defendant is informed and believes and

   17 based thereon alleges that Plaintiffs, the putative class members they seek to

   18 represent, and/or the putative aggrieved employees at issue voluntarily and

   19 knowingly waived their rights to or otherwise elected to forego such breaks for

   20 reasons unrelated to Defendant and therefore are not entitled to compensation under

   21 Lab. Code § 226.7 or otherwise. See Brinker Rest. Corp. v. Super. Ct., 53 Cal.4th

   22 1040 (2012).

   23                   FIFTH AFFIRMATIVE OR OTHER DEFENSE
   24                                          (Laches)
   25        Defendant is informed and believes and based thereon alleges that Plaintiffs
   26 have unreasonably delayed in pursuing this lawsuit, and that, as a result, Defendant

   27 has suffered prejudice due to the passage of time, diminution of memories, and

   28 turnover of employees who might be potential witnesses and to the extent that any

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    1 relevant records have been lost or destroyed. Such delay and prejudice render any

    2 grant of relief to Plaintiffs, the putative class members that they seek to represent, the

    3 putative aggrieved employees at issue, and/or the State of California inequitable.

    4                   SIXTH AFFIRMATIVE OR OTHER DEFENSE
    5                                         (Consent)
    6        The 4AC and each and every purported cause of action alleged therein are
    7 barred by the doctrine of consent, including without limitation with respect to

    8 Plaintiffs’ consent and/or that of the putative class members they seek to represent,

    9 the putative aggrieved employees at issue and/or the State of California, and/or their

   10 agreement based on acceptance of notice given, compensation paid, or other benefits,

   11 information or materials provided to them without protest and/or any such acceptance

   12 on their part.

   13                  SEVENTH AFFIRMATIVE OR OTHER DEFENSE
   14                                     (Unclean Hands)
   15        The 4AC as a whole, and each and every purported cause of action alleged
   16 therein, is barred by Plaintiffs’ own unclean hands, or the unclean hands of the

   17 putative class members they seek to represent, the putative aggrieved employees at

   18 issue and/or the State of California, including their own inequitable behavior

   19 regarding the subject matter of the claims against Defendant.

   20                  EIGHTH AFFIRMATIVE OR OTHER DEFENSE
   21                                (Avoidable Consequences)
   22        The 4AC and each and every purported cause of action alleged therein are
   23 barred by the doctrine of avoidable consequences because Plaintiffs, the putative

   24 class members they seek to represent, the putative aggrieved employees at issue,

   25 and/or the State of California unreasonably failed to take advantage of the

   26 preventative or corrective opportunities and mechanisms provided and made

   27 available by Defendant and/or under applicable law, or to otherwise avoid any harm

   28 or damages alleged in the 4AC.

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    1                  NINTH AFFIRMATIVE OR OTHER DEFENSE
    2                    (No Requisite Willfulness, Knowledge or Intent)
    3        Defendant did not willfully, knowingly, and/or intentionally fail to comply
    4 with any applicable provision of law, but rather acted in good faith and had

    5 reasonable grounds for believing that it did not violate California law or any other

    6 applicable provision of law. Therefore, because Defendant’s conduct was not willful,

    7 knowing and/or intentional, any recovery on the causes of action alleged in the 4AC

    8 is precluded, in whole or in part.

    9                  TENTH AFFIRMATIVE OR OTHER DEFENSE
   10                         (Unjust, Arbitrary and/or Confiscatory)
   11        The 4AC and each and every purported cause of action alleged therein,
   12 individually or on behalf of the putative class members Plaintiffs seek to represent,

   13 the putative aggrieved employees at issue and/or the State of California, is barred to

   14 the extent that it seeks punitive, exemplary, or multiplied damages because any such

   15 damages violate Defendant’s rights to not be subject to excessive fines and to be

   16 entitled to due process under the United States Constitution, including without

   17 limitation the Eighth and Fourteenth Amendments, and the Constitution of the State

   18 of California, as applicable.

   19               ELEVENTH AFFIRMATIVE OR OTHER DEFENSE
   20                                      (Penalties Bar)
   21        To the extent the 4AC seeks any type of penalties, it is unconstitutional in that,
   22 among other things, the statutory bases therefor are void for vagueness, it violates the

   23 Equal Protection Clause, it violates the Due Process Clause, it is an undue burden on

   24 interstate commerce and/or it violates the Excessive Fines Clause of the Eighth

   25 Amendment, and the Constitution of the State of California.

   26                TWELFTH AFFIRMATIVE OR OTHER DEFENSE
   27            (Penalties Unjust, Arbitrary and Oppressive, and/or Confiscatory)
   28        Plaintiffs and the putative aggrieved employees at issue are not entitled to
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    1 recover any civil penalties, or the extent any penalties are awarded, they should be

    2 reduced, because, under the circumstances of this case, any such recovery would be

    3 unjust, arbitrary and oppressive, or confiscatory.

    4              THIRTEENTH AFFIRMATIVE OR OTHER DEFENSE
    5                                         (Offset)
    6        To the extent that Plaintiffs and/or any of the putative class members they seek
    7 to represent or putative aggrieved employees at issue and/or the State of California

    8 are entitled to damages or penalties (which is expressly denied), Defendant is entitled

    9 to an offset against any recovery obtained by Plaintiffs, the putative class members

   10 they seek to represent, the putative aggrieved employees at issue and/or the State of

   11 California for any monies recovered by and/or received by them from any source in

   12 compensation for any alleged economic or non-economic damages under the

   13 common law doctrine of offset, including, without limitation, any overpayments

   14 made to Plaintiffs, the putative class members they seek to represent, the putative

   15 aggrieved employees at issue during their alleged employment, any unemployment

   16 benefits paid to them, and any wages and/or other monies and/or benefits they have

   17 received or will receive so as to prevent unjust enrichment.

   18              FOURTEENTH AFFIRMATIVE OR OTHER DEFENSE
   19                                         (Setoff)
   20        Defendant is entitled to a setoff for amounts Plaintiffs and/or any of the
   21 putative class members they seek to represent or the putative aggrieved employees at

   22 issue and/or the State of California owe it for damages and/or other legal or equitable

   23 remedies (including, without limitation, rescission) based on and/or resulting from

   24 their wrongful conduct against Defendant, including, without limitation, breaching

   25 and/or making misrepresentations in any agreements that they entered into with

   26 Defendant and/or their receipt of any wages and other benefits to which they were not

   27 entitled and/or did not earn due to mistake(s) of fact and/or law.

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    1                FIFTEENTH AFFIRMATIVE OR OTHER DEFENSE
    2                                   (De Minimis Losses)
    3        The 4AC and each and every purported cause of action alleged therein,
    4 individually and on behalf of the putative class members they seek to represent or

    5 putative aggrieved employees at issue and/or the State of California, cannot be

    6 recovered to the extent their losses are barred by the de minimis doctrine.

    7                SIXTEENTH AFFIRMATIVE OR OTHER DEFENSE
    8                                 (Accord and Satisfaction)
    9        Plaintiffs’ 4AC and each and every purported cause of action alleged therein,
   10 individually and on behalf of the putative class members they seek to represent, the

   11 putative aggrieved employees at issue and/or the State of California, are barred

   12 pursuant to an accord and satisfaction and/or to the extent that they, or any of them,

   13 have entered into or are otherwise bound by compromise, settlement, or release

   14 agreements covering those claims, which they have breached by bringing or

   15 participating in this action.

   16             SEVENTEENTH AFFIRMATIVE OR OTHER DEFENSE
   17                         (Settlement Agreements and/or Releases)
   18        Plaintiffs’ 4AC, and each and every purported cause of action alleged therein,
   19 are barred by one or more settlement agreements and/or releases executed by and/or

   20 applicable to Plaintiffs (or any of them), the putative class members they seek to

   21 represent, the putative aggrieved employees at issue, and/or the State of California.

   22              EIGHTEENTH AFFIRMATIVE OR OTHER DEFENSE
   23                         (Res Judicata and/or Collateral Estoppel)
   24        Plaintiffs’ 4AC, and each and every purported cause of action alleged therein,
   25 individually and on behalf of the putative class members they seek to represent, the

   26 putative aggrieved employees at issue and/or the State of California, are barred by the

   27 doctrines of res judicata and/or collateral estoppel.

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    1              NINETEENTH AFFIRMATIVE OR OTHER DEFENSE
    2                                         (No Standing)
    3        Plaintiffs’ 4AC and each and every purported cause of action alleged therein
    4 are barred, in whole or in part, because Plaintiffs, the putative class members they

    5 seek to represent, the putative aggrieved employees at issue, and/or the State of

    6 California lack standing because, among other things, they have not suffered any

    7 injury in fact and/or have not lost money or property.

    8               TWENTIETH AFFIRMATIVE OR OTHER DEFENSE
    9                    (Independent, Intervening or Superseding Cause)
   10        Defendant is informed and believes and based thereon alleges that any injuries
   11 or damages alleged by Plaintiffs, individually or on behalf of the putative class

   12 members they seek to represent, the putative aggrieved employees at issue and/or the

   13 State of California, were the result of new, independent, intervening, or superseding

   14 causes that are unrelated to any alleged conduct of Defendant, including, without

   15 limitation, Plaintiffs’ own conduct in failing to report any alleged unpaid

   16 compensation or missed meal or rest breaks.         As such, any action on the part of
   17 Defendant was not the proximate or producing cause of any alleged injuries or

   18 damages Plaintiffs claim to have suffered or that they claim were suffered by the

   19 putative class members they seek to represent, the putative aggrieved employees at

   20 issue and/or the State of California.

   21             TWENTY-FIRST AFFIRMATIVE OR OTHER DEFENSE
   22                                   (Failure to Mitigate)
   23        Defendant is informed and believes and based thereon alleges that Plaintiffs
   24 and the putative class members they seek to represent or the putative aggrieved

   25 employees at issue have failed to exercise reasonable care and diligence to avoid loss

   26 and mitigate their damages (if any were in fact suffered, which is expressly denied).

   27 Plaintiffs, the putative class members they seek to represent, and the putative

   28 aggrieved employees at issue are barred from recovering any damages that could

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    1 have been prevented and/or lessened by reasonable efforts on their parts and,

    2 therefore, recovery should be barred in whole or in part by their failure to mitigate.

    3           TWENTY-SECOND AFFIRMATIVE OR OTHER DEFENSE
    4                                 (Substantial Compliance)
    5        Plaintiffs’ 4AC and each and every purported cause of action alleged therein,
    6 individually and on behalf of the putative class members, the putative aggrieved

    7 employees at issue and/or the State of California, are barred because Defendant was

    8 only required to and did substantially comply with the laws applicable to Plaintiffs’

    9 claims in this action.

   10            TWENTY-THIRD AFFIRMATIVE OR OTHER DEFENSE
   11                                   (Good Faith Dispute)
   12        Although Defendant generally and specifically denies that it owes any amounts
   13 to Plaintiffs, the putative class members they seek to represent, the putative aggrieved

   14 employees at issue, and/or the State of California, if it should be determined that any

   15 amounts are owed, and that such amounts are owed by Defendant, Defendant is

   16 informed and believes and based thereon alleges that there has existed at all times

   17 relevant a good faith dispute as to whether and when the allegedly unpaid wages or

   18 amounts claimed by Plaintiffs in the 4AC were due to Plaintiffs, the putative class

   19 members they seek to represent, the putative aggrieved employees at issue, and/or the

   20 State of California.

   21           TWENTY-FOURTH AFFIRMATIVE OR OTHER DEFENSE
   22                        (Waiver Based on Failure to Demand Payment)
   23        The 4AC, and each and every claim alleged therein, individually and on behalf
   24 of the putative class members they seek to represent, the putative aggrieved

   25 employees at issue, and/or the State of California, are barred by the doctrines of

   26 waiver, ratification, acquiescence, consent and/or agreement based on their

   27 acceptance of wages paid to them throughout their employment without protest.

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    1             TWENTY-FIFTH AFFIRMATIVE OR OTHER DEFENSE
    2                                      (Good Faith)
    3        Defendant at all times acted in good faith in conformity with and in reliance on
    4 written administrative regulations, orders, rulings, approvals, and/or interpretations of

    5 government agencies and/or the administrative practices or enforcement policies of

    6 government agencies based on all relevant facts and circumstances known to it, and

    7 in good faith exercise of its professional judgment, with the honest, reasonable belief

    8 that such actions and conduct were warranted by the facts and circumstances known

    9 to it at the time and in compliance with applicable law.

   10             TWENTY-SIXTH AFFIRMATIVE OR OTHER DEFENSE
   11                    (Full Performance, Satisfaction and/or Discharge)
   12        Without admitting the existence of any duties or obligations as alleged in the
   13 4AC, any such duties or obligations, implied or otherwise, which Plaintiffs, the

   14 putative class members, the aggrieved employees at issue, and/or the State of

   15 California are owed by Defendant have been fully performed, satisfied, and/or

   16 discharged.

   17          TWENTY-SEVENTH AFFIRMATIVE OR OTHER DEFENSE
   18                                      (Preemption)
   19        Plaintiffs’ claim for penalties under the California Labor Code Private
   20 Attorneys’ General Act (“PAGA”), Cal. Lab. Code § 2698, et seq., is barred if and to

   21 the extent that they seek to obtain such a recovery using a so-called non-class

   22 representative action procedure without certifying a class or classes in accordance

   23 with the requirements of Fed. R. Civ. P. 23 because PAGA to that extent conflicts

   24 with and is preempted by Fed. R. Civ. P. 23, which automatically applies in all civil

   25 actions and representative proceedings in this Court.

   26           TWENTY-EIGHTH AFFIRMATIVE OR OTHER DEFENSE
   27                         (Meal Periods Provided and/or Waived)
   28        Plaintiffs’ purported causes of action predicated in whole or in part on alleged
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    1 meal period violations are barred in whole or in part because Defendant at all times,

    2 through its policies and practices, and to the extent Plaintiff, the putative class

    3 members they seek to represent, and/or the putative aggrieved employees at issue

    4 were entitled to meal periods in the first instance, provided Plaintiff, the putative

    5 class members they seek to represent, and/or the putative aggrieved with

    6 opportunities to take meal breaks consistent with the applicable law, and Plaintiff, the

    7 putative class members they seek to represent, and/or the putative aggrieved

    8 employees at issue voluntarily and knowingly waived their rights to or otherwise

    9 elected to forego such breaks for reasons unrelated to Defendant.

   10            TWENTY-NINTH AFFIRMATIVE OR OTHER DEFENSE
   11                         (Rest Periods Provided and/or Waived)
   12        Plaintiffs’ purported causes of action predicated in whole or in part on alleged
   13 rest period violations are barred in whole or in part because Defendant at all times,

   14 through its policies and practices, and to the extent Plaintiff, the putative class

   15 members they seek to represent, and/or the putative aggrieved employees at issue

   16 were entitled to rest periods in the first instance, authorized and permitted Plaintiff,

   17 the putative class members they seek to represent, and/or the putative aggrieved

   18 employees at issue to take rest breaks consistent with the applicable law, and

   19 Plaintiff, the putative class members they seek to represent, and/or the putative

   20 aggrieved employees at issue voluntarily and knowingly waived their rights to or

   21 otherwise elected to forego such breaks for reasons unrelated to Defendant.

   22               THIRTIETH AFFIRMATIVE OR OTHER DEFENSE
   23                      (Failure to Exhaust Administrative Remedies)
   24        Any recovery on the 4AC and Plaintiffs’ claim for penalties pursuant to the
   25 California Labor Code Private Attorneys General Act, Lab. Code § 2698, et seq.

   26 (“PAGA), are barred, or limited, in whole or in part, and this Court lacks jurisdiction

   27 over such claims, to the extent Plaintiffs have failed to timely and properly satisfy the

   28 jurisdictional prerequisites and/or conditions precedent and/or exhaust their

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    1 administrative remedies prior to commencing this civil action as required by law,

    2 including, but not limited to, Plaintiffs’ failure to timely or otherwise properly

    3 comply with the administrative notification requirements and/or to the extent the

    4 California Labor and Workforce Development Agency conducts an investigation

    5 into, and issues citations regarding, the claims.

    6              THIRTY-FIRST AFFIRMATIVE OR OTHER DEFENSE
    7                                       (Due Process)
    8        To the extent Plaintiffs are “aggrieved employees,” which Defendant denies,
    9 this case cannot proceed as a “representative action” on behalf of other allegedly

   10 aggrieved employees because such an action would deprive Defendant of its due

   11 process rights for the reason, inter alia, that in order to establish any liability on the

   12 part of Defendant would require individualized inquiries for each allegedly aggrieved

   13 employee.

   14      RESERVATION OF RIGHTS & REQUEST FOR ATTORNEYS’ FEES
   15        Defendant presently has insufficient knowledge or information on which to
   16 form a belief as to whether it may have additional, as yet unstated, defenses available.

   17 Defendant reserves the right to assert additional defenses in the event discovery

   18 indicates they would be appropriate. Further, Defendant has engaged attorneys to

   19 represent it in defense of Plaintiffs’ frivolous, unfounded, and unreasonable action

   20 and is thereby entitled to an award of reasonable attorneys’ fees pursuant to

   21 applicable law upon judgment in Defendant’s favor.

   22        WHEREFORE, Defendant hereby prays for judgment in its favor as follows:
   23        1.     That no class of any type be certified in any manner by the Court in the
   24 action and that no notice of the action be given;

   25        2.     That Plaintiffs, the putative class members, the putative aggrieved
   26 employees at issue, and/or the State of California, take nothing by way of this action;

   27        3.     That Plaintiffs’ action be dismissed in its entirety with prejudice;
   28        4.     That Plaintiffs, the putative class members, the putative aggrieved
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    1 employees at issue, and/or the State of California, be denied each and every demand

    2 and prayer for relief in this action;

    3        5.     For costs of suit incurred herein, including reasonable attorneys’ fees
    4 pursuant to applicable law; and

    5        6.     For such other and further relief as the Court deems just and proper.
    6                             DEMAND FOR JURY TRIAL
    7        Defendant hereby demands a trial by jury on all claims or issues so triable
    8 under applicable law.

    9

   10 Dated: August 17, 2022                  BAKER & HOSTETLER LLP
   11
                                              By:     /s/ Matthew C. Kane
   12
                                                     Matthew C. Kane
   13                                                Sylvia J. Kim
                                                     Amy E. Beverlin
   14                                                Kerri H. Sakaue
   15                                         Attorneys for Defendant
                                              OLD DOMINION FREIGHT LINE, INC.
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